Case 3:15-md-02670-JLS-MDD Document 1895 Filed 04/19/19 PageID.125226 Page 1 of 3



       Paul E. Slater
   1   Joseph M. Vanek
       David P. Germaine
   2   Alberto Rodriguez
       SPERLING & SLATER, P.C.
   3   55 West Monroe Street
       Suite 3200
   4   Chicago, Illinois 60603
       Tel: (312) 641-3200
   5   Fax: (312) 641-6492
   6   pes@sperling-law.com
       jvanek@sperling-law.com
   7   dgermaine@sperling-law.com
   8   arodriguez@sperling-law.com

   9   Counsel for the Direct Action Plaintiffs SuperValu Inc.,
 10    Associated Grocers of Florida, Inc., and Unified Grocers, Inc.

 11                          UNITED STATES DISTRICT COURT
 12                        SOUTHERN DISTRICT OF CALIFORNIA

 13
 14    IN RE: PACKAGED SEAFOOD                     Case No. 15-md-2670-JLS-MDD
       PRODUCTS ANTITRUST
 15    LITIGATION
 16
       This Document Relates to:                    JOINT MOTION AND
 17                                                 STIPULATION FOR DISMISSAL
       SuperValu Inc. v. Bumble Bee Foods,          WITH PREJUDICE AGAINST
 18    LLC, et al., Case No. 17-cv-0951             STARKIST DEFENDANTS
       (JLS) (MDD)
 19
 20          Direct Action Plaintiffs SuperValu Inc., Associated Grocers of Florida, Inc.,
 21    and Unified Grocers, Inc. (“Plaintiffs”) and Defendants StarKist Co., and Dongwon
 22    Industries Co., Ltd. (“StarKist Defendants”) have agreed to resolve Plaintiffs’ claims
 23    against the StarKist Defendants only. Pursuant to Federal Rule of Civil Procedure
 24    41(a)(1)(A)(ii), the parties stipulate and jointly move the Court to dismiss Plaintiffs’
 25    claims against the StarKist Defendants with prejudice. The parties shall bear their
 26    respective fees and costs. This Stipulation has no bearing on Plaintiffs’ claims against
 27    any other Defendant.
 28
       STIPULATION OF DISMISSAL                                  Case No: 15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1895 Filed 04/19/19 PageID.125227 Page 2 of 3




   1   Dated: April 19, 2019                  Respectfully submitted,
   2                                          Paul E. Slater
                                              Joseph M. Vanek
   3                                          David P. Germaine
                                              Alberto Rodriguez
   4                                          SPERLING & SLATER, P.C.
                                              55 West Monroe Street
   5                                          Suite 3200
                                              Chicago, Illinois 60603
   6                                          Tel: (312) 641-3200
                                              Fax: (312) 641-6492
   7                                          pes@sperling-law.com
   8                                          jvanek@sperling-law.com
                                              dgermaine@sperling-law.com
   9                                          arodriguez@sperling-law.com
 10
 11                                           By: s/ David P. Germaine

 12                                           Counsel for the Direct Action Plaintiffs
                                              SuperValu Inc., Associated Grocers of
 13                                           Florida, Inc., and Unified Grocers, Inc.
 14    Dated: April 19, 2019                 Alfred C. Pfeiffer (CA 120965)
                                             Christopher S. Yates (CA 161273)
 15                                          Belinda S Lee (CA 199635)
                                             Niall E. Lynch (CA 157959)
 16                                          Ashley M. Bauer (CA 231626)
                                             LATHAM & WATKINS LLP
 17                                          505 Montgomery Street, Suite 2000
                                             San Francisco, California 94111-6538
 18                                          Telephone: +1.415.391.0600
                                             Facsimile: +1.415.395.8095
 19                                          Al.Pfeiffer@lw.com
                                             Chris.Yates@lw.com
 20                                          Belinda.Lee@lw.com
                                             Niall.Lynch@lw.com
 21                                          Ashley.Bauer@lw.com
 22                                           By: s/ Niall E. Lynch_______________
 23                                           Counsel for StarKist Co. and
                                              Dongwon Industries Co., Ltd.
 24
 25
 26
 27
 28
       STIPULATION OF DISMISSAL                          Case No: 15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1895 Filed 04/19/19 PageID.125228 Page 3 of 3




   1                              CERTIFICATE OF SERVICE

   2         I certify that on April 19, 2019, I filed the foregoing document with the Clerk
   3   of the Court for the United States District Court, Southern District of California, by
   4   using the Court’s CM/ECF System.
   5
                                                    SPERLING & SLATER, P.C.
   6
   7
                                                    By: s/ David P. Germaine
   8
   9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
       STIPULATION OF DISMISSAL                                 Case No: 15-md-2670-JLS-MDD
